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                             UNITED STATES DISTRICT COURT
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 8                         CENTRAL DISTRICT OF CALIFORNIA
 9                                                 Case No.: CV 10-2211-DMG (DTBx)
     JOSE ANTONIO FRANCO GONZALEZ,
10   et al.,                                       ORDER RE STIPULATION ON
11                                                 BRIEFING SCHEDULE FOR
                 Plaintiffs-Petitioners,           PLAINTIFFS’ MOTION TO REOPEN
12                                                 LIMITED DISCOVERY TO
                                                   ESTABLISH NON-COMPLIANCE
13               vs.                               WITH COURT ORDERS [1048]
14   WILLIAM BARR, Attorney General, et al.,
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                 Defendants-Respondents.
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18         Good cause having been shown in the parties’ Stipulation Re: Briefing Schedule
19   for Plaintiffs’ Motion to Reopen Limited Discovery to Establish Non-Compliance with
20   Court Orders, the stipulation is hereby APPROVED.
21         The briefing schedule for Plaintiffs’ motion to be heard before this Court on
22   December 13, 2019 is as follows:
23         1.    Defendants’ response will be due on November 20, 2019.
24         2.    Plaintiffs’ reply will be due on November 27, 2019.
25   IT IS SO ORDERED.
26   DATED: November 18, 2019                     ________________________________
27                                                DOLLY M. GEE
                                                  UNITED STATES DISTRICT JUDGE
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